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                 Exhibit E
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

    CAROLYN WASHINGTON,
                Plaintiff,
                                                  C.A. No.
    v.

    JAY E. JOHNSON; MARK LEGARDA;
    MARTIN RUSSO; MATTHEW EAST;
    DOUG BONDAR; MARK BARNES;
    NANCY LIVINGSTON; KENDALL
    PATIENT RECOVERY U.S., LLC;
    CARDINAL HEALTH, INC. and JOHN
    DOE NOS. 1-10,
                Defendants.




                       NOTICE OF CONSENT TO REMOVAL
         Pursuant to 28 U.S.C. § 1446(b)(2)(A), Defendants Jay Johnson, Mark

Legarda, Martin Russo, Matthew East, Doug Bondar, Mark Barnes, Nancy

Livingston, Kendall Patient Recovery U.S., LLC, and Cardinal Health, Inc.

(collectively “Defendants”) submit the following Notice of Consent to Removal.1

As stated in Defendants’ Notice of Removal, Defendants consent to the removal of

this action from the State Court of Gwinnett County, Georgia to the United States

District Court for the Northern District of Georgia.


1
  Defendants Jay Johnson, Matthew East, and Doug Bondar are represented by
separate counsel, have conferred with Defendants’ counsel, and consent to removal.
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Respectfully submitted, this 11th day of April, 2023.

                       Signatures on following page.

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                                      Counsel for Defendants Kendall
                                      Patient Recovery U.S., LLC, Cardinal
                                      Health, Inc., Mark Legarda, Martin
                                      Russo, Mark Barnes, Nancy Livingston,
                                      and John Doe Nos. 1-10




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